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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 DENNIS TOOLEY,                            )
 an individual,                            )
                                           )
               Plaintiff,                  )
                                           )
        vs.                                ) CASE NO. 1:17-cv-00781-LSA-DML
                                           )
 WOODROW J. LANE TRUST,                    )
 an Indiana Trust,                         )
                                           )
 and                                       )
                                           )
 BETTY L. LANE TRUST,                      )
 an Indiana Trust,                         )
                                           )
               Defendants.                 )
 _________________________________________ )

                        STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff and Defendants, Woodrow J. Lane Trust and Betty L. Lane Trust, pursuant to Rule

 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate to dismiss this action with

 prejudice and, except as otherwise agreed, each party shall bear its respective fees and costs.



 Respectfully submitted,                             Respectfully submitted,

 By: /s/ Louis I. Mussman           .               By: /s/ Anthony S. Ridolfo_______________
      Louis I. Mussman, Esq.                            Anthony S. Ridolfo, #22824-49
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        and                                              Counsel for Defendants Woodrow J. Lane


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                                                       and Betty L. Lane Trusts
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        Attorneys for Plaintiff


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 8th day of January, 2018, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system, which will send notification of filing the following

 counsel of record:

     Anthony S. Ridolfo
     Steven T. Henke
     HACKMAN HULETT LLP
     135 N. Pennsylvania Street, Suite 1610
     Indianapolis, IN 46204

                                                      By: /s/ Louis Mussman
                                                         Louis I. Mussman, Esq.




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